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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION


ANNE BRYANT,

                  Plaintiff,
                                                      Case No: 8:18-cv-1336-T-36CPT
      v.

HASBRO, INC.; JOHN AND JANE DOES
1-12; and ABC CORPORATIONS 1-7,

                  Defendants.



                         NOTICE OF PENDENCY OF OTHER ACTIONS

           In accordance with Local Rule 1.04(d), and in compliance with this Court’s Order (ECF

No. 3), I certify that the instant action:


           IS             related to pending or closed civil or criminal case(s) previously filed in
                          this Court, or any other Federal or State court, or administrative agency as
                          indicated below:




  X        IS NOT         related to any pending or closed civil or criminal case filed with this
                          Court, or any other Federal or State court, or administrative agency.
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Dated: August 23, 2018                   Respectfully submitted,

                                         /s/ Matthew Triggs
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 23, 2018, the foregoing was electronically filed

with the Clerk of the Court via the CM/ECF system. I also certify that the foregoing document is

being served this day on the pro se Plaintiff via email at annebryantmusic@mac.com, and via

U.S. Mail at the following addresses:


       Ms. Anne Bryant
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       Sarasota, FL 34239

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                                            s/ Matthew Triggs
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